               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                  Case No. 97-CR-98-13-JPS
 v.

 RANDALL E. MILLER,
                                                                  ORDER
                      Defendant.


       On January 14, 2020, the defendant filed a motion for compassionate

release. (Docket #2205).    The Court ordered the government to file a

response, which the Court received on February 5, 2020. (Docket #2206,

2207). Pursuant to Judge Griesbach’s January 8, 2019 General Order on the

First Step Act of 2018, which appoints Federal Defender Services of

Wisconsin, Inc. (“FDS”) to advise and represent individuals filing motions

for compassionate release, the matter is herewith referred to FDS for further

review. FDS must inform the Court by July 13, 2020 whether it intends to

file anything on the defendant’s behalf. The Bureau of Prisons is directed to

release the defendant’s medical records to FDS for review. If any medical

records are placed on the docket, they must be filed in a restricted form, so

that they are only accessible to the parties.

       Accordingly,

       IT IS ORDERED that this matter is herewith REFERRED to the

Federal Defender Services for review; and

       IT IS FURTHER ORDERED that Federal Defender Services shall

inform the Court by July 13, 2020 whether it intends to file anything on the

defendant’s behalf.



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    Dated at Milwaukee, Wisconsin, this 6th day of July, 2020.

                               BY THE COURT:




                               J.P. Stadtmueller
                               U.S. District Judge




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